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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                               Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

              Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/


                       ROGER J. STONE’S NOTICE OF APOLOGY

       Undersigned counsel, with the attached authority of Roger J. Stone, hereby apologizes to

the Court for the improper photograph and comment posted on Instragram today. Mr. Stone

recognizes the impropriety and had it removed.



                                                 Respectfully submitted,
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on February 18, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

     United States Attorney’s Office for the             United States Depart of Justice
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